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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

HANNAH SANDERSON,

       Plaintiff,

v.                                                       Case No. 6:19-cv-66-Orl-37LRH

VOLUSIA COUNTY TOWING, LLC,

      Defendant.
_____________________________________

                                          ORDER

       Plaintiff initiated this action against her former employer for failure to pay

overtime and minimum wages in violation of the Fair Labor Standards Act (“FLSA”).

(See Doc. 1.) The parties then moved for approval of their FLSA settlement agreement

under Lynn’s Food Stores, Inc. v. United States ex rel. United States Department of Labor, 679

F.2d 1350, 1355 (11th Cir. 1982). (Doc. 18 (“Motion”); Doc. 18-1 (“Agreement”).) On

referral, U.S. Magistrate Judge Leslie R. Hoffman recommends granting the Motion in

part, striking the first sentence of paragraph 2(b) of the Agreement, and approving the

Agreement as revised as a fair and reasonable settlement of Plaintiff’s FLSA claims.

(Doc. 19 (“R&R”).)

       The parties represent that they do not object to the R&R. (Doc. 20.) As such, the

Court has examined the R&R only for clear error. See Wiand v. Wells Fargo Bank, N.A.,

No. 8:12-cv-557-T-27EAJ, 2016 WL 355490, at *1 (M.D. Fla. Jan. 28, 2016); see also Macort v.

Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006). Finding no such error, the Court


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concludes that the R&R is due to be adopted in its entirety.

      Accordingly, it is ORDERED AND ADJUDGED as follows:

      1.     U.S. Magistrate Judge Leslie R. Hoffman’s Report and Recommendation

             (Doc. 19) is ADOPTED, CONFIRMED, and made a part of this Order.

      2.     The parties’ Renewed Joint Motion for Court Approval of Settlement

             Agreement and for Order of Dismissal of Lawsuit with Prejudice (Doc. 18)

             is GRANTED IN PART:

             a.     The first full sentence of paragraph 2(b) of the Agreement (Doc. 18-

                    1, p. 2) is STRICKEN.

             b.     The Agreement (Doc. 18-1) is otherwise a fair and reasonable

                    settlement of Plaintiff’s FLSA claims.

             c.     In all other respects, the Motion is DENIED.

      3.     The Settlement Agreement and Limited Release (Doc. 18-1), as revised

             above, is APPROVED.

      4.     This action is DISMISSED WITH PREJUDICE.

      5.     The Clerk is DIRECTED to close the file.

      DONE AND ORDERED in Chambers in Orlando, Florida, on April 5, 2019.




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Copies to:
Counsel of Record




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